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 Index of Exhibits to Declaration of Michael J. Scimone in Support of Plaintiffs' Reply in Support of
               Motion for Summary Judgment as to Defendant's Affirmative Defense
Exhibit Restricted                                         Description
   1        Yes      2011 Contract, GEO_MEN 00019613-20037
   2                 Excerpts from the June 10, 2020 deposition of Brian Evans.
   3                 Correspondence from GEO to ICE dated February 14, 2018, 2018-ICLI-00052 2751-
                     2755
   4                 Correspondence from ICE to GEO dated June 21, 2018, 2018-ICLI-00052 6054-55
   5                 Excerpts from the March 29, 2016 Rule 30(b)(6) deposition of Dawn Ceja
   6                 Excerpts from the October 9, 2019 deposition of Amber Martin
   7                 Excerpts from the November 11, 2019 deposition of Kevin Martin
   8                 ICE Fiscal Year 2017 Report to Congress entitled "Progress in Implementing 2011
                     PBNDS Standards and DHS PREA Requirements at Detention Facilities", available at
                     https://www.dhs.gov/sites/default/files/publications/ICE%20-
                     %20Progress%20in%20Implementing%202011%20PBNDS%20Standards%20and%2
                     0DHS%20PREA%20Requirements_0.pdf
   9                 Excerpts from the February 28, 2020 Rule 30(b)(6) deposition of Amber Martin
  10                 Excerpts from the October 26, 2017 deposition of Plaintiff Grisel Xahuentitla-Flores

  11                 Excerpts from the June 24, 2020 of Plaintiff Hugo Hernandez-Ceren
  12                 Excerpts from the February 27, 2020 Rule 30(b)(6) deposition of Daniel Ragsdale
  13                 Declaration of Jamal N. Whitehead in Support of Respondents’ Answer in Opposition
                     to Petition for Permission to Appeal Class Certification and its exhibits, dated
                     September 13, 2018 and filed as ECF No. 5-2 in Nwauzor et al. v. The Geo Group,
                     Inc., No. 18-80095 (9th Cir.)
  14                 Plaintiff Alejandro Menocal Lepe’s Objections and Responses to Defendant the GEO
                     Group, Inc.’s Second Set of Written Discovery Requests, dated January 19, 2018

  15                 Plaintiff Grisel Xahuentitla-Flores’ Objections and Responses to Defendant the GEO
                     Group, Inc.’s Second Set of Written Discovery Requests, dated January 22, 2018

  16                 Plaintiff Lourdes Argueta’s Objections and Responses to Defendant the GEO Group,
                     Inc.’s Second Set of Written Discovery Requests, dated March 6, 2018
  17                 Department of Homeland Security Office of Inspector General Report entitled
                     "Management Alert on Issues Requiring Immediate Action at the Theo Lacy Facility
                     in Orange, California", dated March 6, 2017 and available at
                     http://www.endisolation.org/blog/wp-content/uploads/2017/05/Management-Alert-on-
                     Issues-Requiring-Immediate.pdf
